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                                           UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION

                                                     SECOND AMENDED 1
                                                      CLERK’S MINUTES

    CASE NO.:              8:24-cr-68-KKM-TGW                                DATE:                        November 12, 2024
    HONORABLE KATHRYN KIMBALL MIZELLE                                        INTERPRETER:                 n/a
                                                                             LANGUAGE:                    n/a
    UNITED STATES OF AMERICA
                                                                             GOVERNMENT COUNSEL
    v.
                                                                                Jay Trezevant and Adam Duso, AUSAs
                                                                             DEFENSE COUNSEL
    TIMOTHY BURKE                                                               Michael Maddux, Retained


    COURT REPORTER: Bill Jones                                               DEPUTY CLERK:                Kristin Carreon
    TIME:      9:48 a.m. – 10:13 a.m.         TOTAL: 25 minute(s)            COURTROOM:                   13B

    PROCEEDINGS: STATUS CONFERENCE

    The parties update the Court on the status of the defendant and trial.

    For the reasons stated on the record, the parties are each directed to file a supplemental briefing, 10 pages max,
    due by December 13, 2024.

    Counsel anticipates a trial in this case would last approximately 2-3 weeks. The parties request 75 jurors for jury
    selection.

    Defendant’s unopposed motion to continue trial to the February 2025 trial calendar is GRANTED, for the
    reasons stated on the record.

    The Court finds that the ends of justice served by granting the continuance outweigh the best interests of the
    public and defendant in a speedy trial.

    The trial is removed from the January 2025 trial calendar and rescheduled for a status conference on April 7,
    2025, at 10:00 a.m. before Judge Mizelle in Courtroom 13B.

    The trial is continued to the June 2025 trial calendar, with a jury trial (date certain) set for June 9, 2025. A
    separate scheduling order will follow.

    The time from today through July 7, 2025, is excluded under 18 U.S.C. § 3161(h).

1
 Amended to correct status conference date back to April 7, 2024 (the original date given in open court) from April 8, 2024. No other
changes made.
